


















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






WR-49,164-02





EX PARTE DERRICK FRAZIER







ON APPLICATION FOR WRIT OF HABEAS CORPUS


IN CAUSE NO. 97-8-3675 FROM THE


24TH DISTRICT COURT OF REFUGIO COUNTY





Per Curiam. PRICE, J., filed a statement dissenting to the dismissal of the application.


ORDER



	This is a subsequent application for habeas corpus filed pursuant to Texas Code of
Criminal Procedure, Article 11.071, Section 5.  Applicant asserts two claims alleging juror
misconduct and the ineffective assistance of counsel.

	Applicant was convicted of capital murder on September 30, 1998.  We affirmed the
conviction and sentence. Frazier v. State, No. 73,268 (Tex.Crim.App. March 28, 2001). 
Based on the findings of the convicting court, we denied relief on his original application for
writ of habeas corpus.  Ex parte Frazier, No. WR-49,164-01 (Tex.Crim.App. June 27, 2001).



	We have reviewed this subsequent application and find that the claims do not meet
the requirements of Texas Code of Criminal Procedure Article 11.071, section 5 for
consideration of subsequent claims.  This application is dismissed as an abuse of the writ.

	IT IS SO ORDERED THIS THE 28TH DAY OF JUNE, 2006.	

Do Not Publish






	







